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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

CHRISTOPHER KESSLER, ON BEHALF OF
HIMSELF AND THOSE SIMILARLY
SITUATED,

                              Plaintiff,

-vs-                                                        Case No. 6:06-cv-1442-Orl-19GJK

LIFESAFER SERVICE PROVIDERS, LLC,

                        Defendant.
______________________________________

                               REPORT AND RECOMMENDATION

TO THE UNITED STATES DISTRICT COURT

       This cause came on for consideration without oral argument on the following motion:

             MOTION:        JOINT NOTICE OF FILING AND JOINT MOTION FOR
                            APPROVAL OF SETTLEMENT AGREEMENT AS
                            STIPULATED FINAL JUDGMENT AND
                            INCORPORATED MEMORANDUM OF LAW (Doc. No.
                            62)

             FILED:      March 17, 2008
             _____________________________________________________________

             THEREON it is RECOMMENDED that the motion be GRANTED.

       Plaintiffs and Defendant jointly move the Court to approve their settlement of Plaintiffs’ claims

pursuant to the Fair Labor Standards Act (“FLSA”).

       The Court has reviewed the proposed settlement as required by Lynn’s Food Stores, Inc. v. United

States, U.S. Dep’t of Labor, 679 F.2d 1350, 1353 (11th Cir. 1982), and finds the settlement is a fair and
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reasonable resolution of a bona fide dispute. The case involved disputed issues of FLSA coverage, which

constitutes a bona fide dispute. Each party was represented by independent counsel, who were obligated

to vigorously represent their client. The parties agreed to settle Christopher Kessler’s claim for $8,000.00

and Jeremy Difiore’s claim for $10,000.00. Plaintiffs’ counsel will receive $13,000.00 representing

attorneys’ fees of $10,000.00 and costs of $3,000.00. The Court finds the proposed settlement in exchange

for Plaintiffs’ release of claims and dismissal of the action with prejudice to be fair and reasonable.

       IT IS RECOMMENDED THAT:

       1.       The Court grant the motion to approve the settlement only to the extent that it is a fair and

reasonable resolution of a bona fide dispute; and

       2.      The Court dismiss the case with prejudice and direct the Clerk to close the case.

       Failure to file written objections to the proposed findings and recommendations contained in this

report within ten (10) days from the date of its filing shall bar an aggrieved party from attacking the

factual findings on appeal.

               Recommended in Orlando, Florida on March 27, 2008.




Copies furnished to:

The Honorable Patricia C. Fawsett




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